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                 EXHIBIT

                         C-1.2
                                            Exhibit C-1.2
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From:           Redfish PC
To:             "Permit"
Date:           Saturday, March 8, 2014 6:13:03 PM
Attachments:    rept20131231 Cabot Global Investments Ltd Financial Statements - Complete.pdf


Bob,


Attached are the Cabot financials for December 31, 2013.


Evatt




                                                                                                MLATSW_006767
                                             Exhibit C-1.2
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From:            Redfish
To:              "Permit"
Date:            Sunday, January 10, 2016 8:06:00 AM
Attachments:     rept20151231 Cabot Global Investments Ltd Financial Statements - Quickbooks.pdf
                 rept20151130 Cabot Global Investments Ltd Financial Statements - Ouickbooks.pdf


Bob,

Please see attached the Cabot financials for November and December.

Bermuda Commercial Bank migrated to a new banking system in October. They got rid of Misys.

Their IT director is new and incompetent. For example, in building the new system, he failed to
i nclude the ability to order transfers using the US banking ABA code. This means that for some
transfers into the US I have to revert to the use of faxed wire instructions.

Other problems have included mistakes on generated bank statements. It took a few weeks to get
corrected statements, but all is correct now.

We should expect more problems for a while.

Evatt




                                                                                                   MLATSW_017059
                                            Exhibit C-1.2
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From:           Redfish
To:             "Permit"
Date:           Thursday, September 14, 2017 7:01:05 PM
Attachments:    rept20170831 Cabot Global Investments Ltd Financial Statements - Quickbooks.pdf


Bob,

Here are the Cabot financials through to August 31st.

Evatt




                                                                                                  MLATSW_021790
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                 EXHIBIT

                            C-3
                           Exhibit C-3
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                 EXHIBIT

                            C-4
                           Exhibit C-4
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                           Exhibit C-4
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                           Exhibit C-4
Case 4:22-cv-00202 Document 26 Filed on 01/31/22 in TXSD Page 10 of 64
                           Exhibit C-4
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                  EXHIBIT

                            C-5
                           Exhibit C-5
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                  EXHIBIT

                            C-7
                                                                                                           Exhibit C-7
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                                                                                                  SIGNIFICANT TRANSACTION REPORT
                                                                                                   CABOT GLOBAL INVESTMENTS LTD


 DATE                     FROM                                 TO                       PAYMENT OUT PAYMENT IN              INTERNAL               BANK                                             REASON


2/21/2017    Cabot Global Investments Ltd   MTS Yachts - Fisheries Research I - Cost       $1,000,000.00                                Mirabaud                    Operating costs for the Fisheries Research I
2/16/2017    Greenway Healthcare            Cabot Global Investments Ltd                                   $23,203,483.92               Mirabaud                    Repayment of principal and Interest on Greenway Healthcare Inc 1st and
2/16/2017    Compuware Corp                  Cabot Global Investments Ltd                                     $463,428.04                 Mirabaud                  Part payment of principal and interest on Compuware 2nd Lien
1/30/2017    Compuware Corp                  Cabot Global Investments Ltd                                   $1,522,715.49                 Mirabaud                  Part payment of principal and interest on Compuware 2nd Lien
 1/26/2017   Greenway Healthcare             Cabot Global Investments Ltd                                     $510,020.54                 Mirabaud                  Interest on Greenway Healthcare Inc 1st and 2nd lien
12/29/2016   Cabot Global Investments Ltd    MTS Yachts - Fisheries Research I - Cost      $1,000,000.00                                  Mirabaud                  Operating costs for the Fisheries Research I
12/28/2016   Compuware Corp                  Cabot Global Investments Ltd                                     $233,819.44                 Mirabaud                  Interest on Compuware 2nd Lien
12/26/2016   Deltek Inc                      Cabot Global Investments Ltd                                     $143,470.00                 Mirabaud                  1% hard call on prepayment of Deltek 2nd Lien
12/26/2016   Deltek Inc                      Cabot Global Investments Ltd                                  $14,638,523.07                 Mirabaud                  Principal and Interest on Deltek Inc 2nd lien
12/22/2016   Cabot Global Investments Ltd    Alley Maass - Lawyers                        $29,345,705.39                                  Mirabaud                  Transfer from Cabot for Closing on the Turmoil and costs
12/20/2016   Greenway Healthcare             Cabot Global Investments Ltd                                     $125,995.90                 Mirabaud                  Part payment of principal and interest on Greenway 1st lien
 6/12/2016   Misys Ltd                       Cabot Global Investments Ltd                                   $1,372,500.00                 Mirabaud                  Interest on Misys Ltd 2nd lien
 11/7/2016   Cabot Global Investments Ltd    Alley Maass - Lawyers                         $3,500,000.00                                  Mirabaud                  Transfer from Cabot for Deposit on the Turmoil
 11/2/2016   Greenway Healthcare             Cabot Global Investments Ltd                                    $452,718.22                  Mirabaud                  Interest on Greenway Healthcare Inc 2nd lien
10/24/2016   Cabot Global Investments Ltd    Regency Management Ltd                                                           $500,000.00 Bermuda Commercial Bank   Transfer between Cabot and Regency re Funding
10/12/2016   Deltek Inc                      Cabot Global Investments Ltd                                     $348,313.28                 Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
 9/29/2016   Compuware Corp                  Cabot Global Investments Ltd                                     $236,388.89                 Bermuda Commercial Bank   Interest on Compuware 2nd Lien
  8/3/2016   Greenway Healthcare             Cabot Global Investments Ltd                                   $4,831,363.53                 Bermuda Commercial Bank   Partial Sale of Greenway Healthcare Inc 1st lien
  8/2/2016   Greenway Healthcare             Cabot Global Investments Ltd                                     $438,269.76                 Mirabaud                  Interest on Greenway Healthcare Inc 2nd lien
 7/19/2016   Deltek Inc                      Cabot Global Investments Ltd                                     $344,527.26                 Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
 6/12/2016   Misys Ltd                       Cabot Global Investments Ltd                                   $1,372,500.00                 Bermuda Commercial Bank   Interest on Misys Ltd 2nd lien
 6/16/2016   Vision Solutions                Cabot Global Investments Ltd                                     $161,500.00                 Bermuda Commercial Bank   Final Interest on Vision Solutions 2nd lien
 5/29/2016   Vision Solutions                Cabot Global Investments Ltd                                     $304,000.00                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 5/26/2016   Cabot Global Investments Ltd    Compuware Corp                                $8,672,538.03                                  Mirabaud                  Purchase of Compuware 2nd Lien
  5/5/2016   Greenway Healthcare             Cabot Global Investments Ltd                                    $438,269.76                  Bermuda Commercial Bank   Interest on Greenway Healthcare Inc 2nd lien
 4/30/2016   Vision Solutions                Cabot Global Investments Ltd                                    $275,500.00                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 4/20/2016   Cabot Global Investments Ltd    Regency Management Ltd                                                           $500,000.00 Bermuda Commercial Bank   Transfer between Cabot and Regency re Funding
 4/13/2016   Deltek Inc                      Cabot Global Investments Ltd                                    $344,527.26                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
  4/4/2016   Deltek Inc                      Cabot Global Investments Ltd                                    $118,158.89                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
 3/30/2016   Vision Solutions                Cabot Global Investments Ltd                                    $294,500.00                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
  3/7/2016   Cabot Global Investments Ltd    Greenway Healthcare                           $8,053,746.18                                  Mirabaud                  Purchase of Greenway Healthcare 1st lien
2/10/2016    Vision Solutions                Cabot Global Investments Ltd                                     $275,500.00               Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
  2/5/2016   Greenway Healthcare             Cabot Global Investments Ltd                                     $438,269.76               Bermuda Commercial Bank     Interest on Greenway Healthcare Inc 2nd lien
 1/26/2016   Deltek Inc                      Cabot Global Investments Ltd                                     $217,048.61               Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
  1/7/2016   Vision Solutions                Cabot Global Investments Ltd                                     $294,500.00               Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
12/16/2015   Misys Ltd                       Cabot Global Investments Ltd                                   $1,372,500.00               Bermuda Commercial Bank     Interest on Misys Ltd 2nd lien
11/30/2015   Vision Solutions                Cabot Global Investments Ltd                                     $294,500.00               Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
10/30/2015   Vision Solutions                Cabot Global Investments Ltd                                     $285,000.00               Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
10/30/2015   Greenway Healthcare             Cabot Global Investments Ltd                                     $427,560.63               Mirabaud                    Interest on Greenway Healthcare Inc 2nd lien
10/22/2015   Cabot Global Investments Ltd    Deltek Inc                                    $5,572,881.22                                Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
10/7/2015    Deltek Inc                      Cabot Global Investments Ltd                                    $139,663.19                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
9/30/2015    Vision Solutions                Cabot Global Investments Ltd                                    $313,500.00                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
9/26/2015    Cabot Global Investments Ltd    Regency Management Ltd                                                         $1,000,000.00 Bermuda Commercial Bank   Transfer between Cabot and Regency re Funding
9/21/2015    Cabot Global Investments Ltd   Deltek Inc                                     $2,007,419.65                                  Bermuda Commercial Bank   Purchase of Deltek Inc 2nd Lien Debt
 9/2/2015    Cabot Global Investments Ltd   Greenway Healthcare                             $991,982.68                                 Mirabaud                    Purchase of Greenway Healthcare 2nd lien
8/31/2015    Cabot Global Investments Ltd    Deltek Inc                                    $1,754,375.00                                Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
8/31/2015    Vision Solutions                Cabot Global Investments Ltd                                    $266,000.00                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
8/13/2015    Cabot Global Investments Ltd    Greenway Healthcare                            $662,077.90                                 Bermuda Commercial Bank     Purchase of Greenway Healthcare 2nd lien
7/29/2015    Vision Solutions                Cabot Global Investments Ltd                                    $294,500.00                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
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7/16/2015    Cabot Global Investments Ltd   Deltek Inc                       $4,950,000.00                                 Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
7/15/2015    Cabot Global Investments Ltd   Greenway Healthcare             $16,956,564.89                                 Bermuda Commercial Bank     Purchase of Greenway Healthcare 2nd lien
 7/1/2015    Vision Solutions                Cabot Global Investments Ltd                       $304,000.00                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
6/25/2015    Deltek Inc                      Cabot Global Investments Ltd                       $422,222.22                Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
6/25/2015    Deltek Inc                      Cabot Global Investments Ltd                       $200,000.00                Bermuda Commercial Bank     Loan Amendment Fee
6/25/2015    Deltek Inc                      Cabot Global Investments Ltd                    $20,000,000.00                Bermuda Commercial Bank     Repayment of Deltek Principal
6/12/2015    Misys Ltd                       Cabot Global Investments Ltd                     $1,365,000.00                Bermuda Commercial Bank     Interest on Misys Ltd 2nd lien
5/29/2015    Vision Solutions                Cabot Global Investments Ltd                       $246,472.22                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
4/30/2015    Vision Solutions                Cabot Global Investments Ltd                       $245,416.67                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
4/10/2015    Deltek Inc                      Cabot Global Investments Ltd                       $488,888.89                Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
3/30/2015    Vision Solutions                Cabot Global Investments Ltd                       $261,777.78                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 2/27/2015   Vision Solutions                Cabot Global Investments Ltd                       $229,055.56                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 1/27/2015   Vision Solutions                Cabot Global Investments Ltd                       $245,416.67                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 1/12/2015   Deltek Inc                      Cabot Global Investments Ltd                       $522,222.22                Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
12/30/2014   Vision Solutions                Cabot Global Investments Ltd                       $254,125.00                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
12/17/2014   Cabot Global Investments Ltd    Evatt Tamine                    $3,000,000.00                                 Mirabaud                    Transfer as per 2014 Compensation Review
12/12/2014   Misys Ltd                       Cabot Global Investments Ltd                     $1,372,500.00                Bermuda Commercial Bank     Interest on Misys Ltd 2nd lien
 12/9/2014   Cabot Global Investments Ltd    Vision Solutions                $4,500,000.00                                 Mirabaud                    Purchase of Vision Solutions 2nd lien
12/8/2014    Cabot Global Investments Ltd    Cabot Global Investments Ltd                                     $3,000,000.00 Mirabaud                   Exchange of US$ to AU$ and transfer to BCB account
12/1/2014    Cabot Global Investments Ltd    Regency Management Ltd                                           $5,000,000.00 Bermuda Commercial Bank    Transfer between Cabot and Regency re Funding
 12/8/2014   Cabot Global Investments Ltd    Cabot Global Investments Ltd                                     $3,000,000.00 Mirabaud                   Exchange of US$ to AU$ and transfer to BCB account
 12/1/2014   Cabot Global Investments Ltd    Regency Management Ltd                                            $5,000,000.00 Bermuda Commercial Bank   Transfer between Cabot and Regency re Funding
11/28/2014   Vision Solutions                Cabot Global Investments Ltd                       $192,111.11                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 11/4/2014   Vision Solutions                Cabot Global Investments Ltd                       $212,694.44                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
10/10/2014   Deltek Inc                      Cabot Global Investments Ltd                       $511,111.11                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
 9/30/2014   Vision Solutions                Cabot Global Investments Ltd                       $219,555.56                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 8/29/2014   Vision Solutions                Cabot Global Investments Ltd                       $198,972.22                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 7/31/2014   Vision Solutions                Cabot Global Investments Ltd                       $212,694.44                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
  7/7/2014   Deltek Inc                      Cabot Global Investments Ltd                       $505,555.56                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
 6/29/2014   Vision Solutions                Cabot Global Investments Ltd                       $212,694.44                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 6/12/2014   Misys Ltd                       Cabot Global Investments Ltd                     $1,365,000.00                  Bermuda Commercial Bank   Interest on Misys Ltd 2nd lien
 5/29/2014   Vision Solutions                Cabot Global Investments Ltd                       $205,833.33                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 4/30/2014   Vision Solutions                Cabot Global Investments Ltd                       $205,833.33                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 4/10/2014   Deltek Inc                      Cabot Global Investments Ltd                       $500,000.00                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
  4/1/2014   Edge Capital Investments Ltd    Cabot Global Investments Ltd                                     $56,500,000.00 Bermuda Commercial Bank   Return of funds to Cabot after Mirabaud account opened
  4/1/2014   Vision Solutions                Cabot Global Investments Ltd                      $212,694.44                   Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
  3/3/2014   Cabot Global Investments Ltd    Edge Capital Investments Ltd                                     $56,500,000.00 BCB/Mirabaud              Short term transfer to Edge Pending Cabot Mirabaud account.
 2/28/2014   Vision Solutions                Cabot Global Investments Ltd                       $192,111.11                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 1/28/2014   Vision Solutions                Cabot Global Investments Ltd                       $212,694.44                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 1/22/2014   Applied Systems                 Cabot Global Investments Ltd                    $30,524,999.98                  Bermuda Commercial Bank   Repayment of Principal on Applied Systems 2nd lien
 1/22/2014   Applied Systems                 Cabot Global Investments Ltd                       $587,606.25                  Bermuda Commercial Bank   Interest on Applied Systems 2nd lien
 1/10/2014   Deltek Inc                      Cabot Global Investments Ltd                       $451,388.89                  Bermuda Commercial Bank   Interest on Deltek Inc 2nd lien
12/30/2013   Vision Solutions                Cabot Global Investments Ltd                       $219,555.56                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
12/12/2013   Misys Ltd                       Cabot Global Investments Ltd                     $1,372,500.00                  Bermuda Commercial Bank   Interest on Misys Ltd 2nd lien
11/29/2013   Vision Solutions                Cabot Global Investments Ltd                       $198,972.22                  Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
11/27/2013   Vision Solutions               Cabot Global Investments Ltd                       $130,000.00                 Bermuda Commercial Bank     Consent Fee Vision Solutions
11/22/2013   Cabot Global Investments Ltd   Deltek Inc                       $5,112,500.00                                 Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
 11/1/2013   The Petroleum Place             Cabot Global Investments Ltd                    $25,007,534.25                Bermuda Commercial Bank     Repayment of principal and final interest on The Petroleum Place 2nd lien
 11/1/2013   The Petroleum Place             Cabot Global Investments Ltd                       $750,000.00                Bermuda Commercial Bank     Payment of call protection premium on sale of The Petroleum Place 2nd
10/31/2013   Applied Systems                 Cabot Global Investments Ltd                       $643,568.75                Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
10/31/2013   The Petroleum Place             Cabot Global Investments Ltd                       $215,277.78                Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
10/31/2013   Vision Solutions                Cabot Global Investments Ltd                      $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 10/9/2013   Deltek Inc                      Cabot Global Investments Ltd                      $305,555.56                 Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
 10/3/2013   The Petroleum Place             Cabot Global Investments Ltd                      $215,277.78                 Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
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9/25/2013    Vision Solutions               Cabot Global Investments Ltd                       $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
8/30/2013    Vision Solutions               Cabot Global Investments Ltd                       $205,833.33                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
8/30/2013    The Petroleum Place            Cabot Global Investments Ltd                       $208,333.33                 Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
 8/7/2013    Cabot Global Investments Ltd   Deltek Inc                       $9,900,000.00                                 Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
7/31/2013    Applied Systems                Cabot Global Investments Ltd                       $643,568.75                 Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
7/29/2013    Vision Solutions               Cabot Global Investments Ltd                       $226,416.67                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
7/29/2013    The Petroleum Place            Cabot Global Investments Ltd                       $229,166.67                 Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
7/10/2013    Deltek Inc                     Cabot Global Investments Ltd                       $126,388.89                 Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
 7/9/2013    Vision Solutions               Cabot Global Investments Ltd                       $192,111.11                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
6/26/2013    The Petroleum Place            Cabot Global Investments Ltd                       $215,277.78                 Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
6/12/2013    Misys Ltd                      Cabot Global Investments Ltd                      $1,365,000.00                Bermuda Commercial Bank     Interest on Misys Ltd 2nd lien
 6/4/2013    Vision Solutions               Cabot Global Investments Ltd                        $212,694.44                Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
5/27/2013    The Petroleum Place            Cabot Global Investments Ltd                        $631,944.44                Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
4/30/2013    Vision Solutions               Cabot Global Investments Ltd                       $226,416.67                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
4/30/2013    Applied Systems                Cabot Global Investments Ltd                       $699,743.23                 Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
 4/6/2013    Deltek Inc                     Cabot Global Investments Ltd                       $125,000.00                 Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
 4/3/2013    Applied Systems                Cabot Global Investments Ltd                       $305,250.00                 Bermuda Commercial Bank     Applied Systems 2nd lien - Facility processing fee
3/27/2013    Vision Solutions               Cabot Global Investments Ltd                       $192,111.11                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 3/1/2013    Vision Solutions               Cabot Global Investments Ltd                       $192,111.11                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
2/27/2013    The Petroleum Place            Cabot Global Investments Ltd                       $631,944.44                 Bermuda Commercial Bank     Interest on The Petroleum Place 2nd lien
1/31/2013    Vision Solutions               Cabot Global Investments Ltd                       $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
1/31/2013    Applied Systems                Cabot Global Investments Ltd                       $741,079.17                 Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
1/11/2013    Deltek Inc                     Cabot Global Investments Ltd                       $126,388.89                 Bermuda Commercial Bank     Interest on Deltek Inc 2nd lien
 1/2/2013    Vision Solutions               Cabot Global Investments Ltd                       $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
12/12/2012   Cabot Global Investments Ltd   Misys Ltd                        $4,119,055.44                                                             Purchase of Misys Ltd 2nd Lien Debt
12/6/2012    Cabot Global Investments Ltd   Misys Ltd                       $18,977,598.88                                                             Purchase of Misys Ltd 2nd Lien Debt
11/30/2012   Vision Solutions               Cabot Global Investments Ltd                       $205,833.33                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
11/27/2012   Cabot Global Investments Ltd   The Petroleum Place Inc         $24,625,000.00                                 Bermuda Commercial Bank     Purchase of Petroleum Place Inc 2nd Lien Debt
11/1/2012    Vision Solutions               Cabot Global Investments Ltd                       $226,416.67                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
10/31/2012   Applied Systems                Cabot Global Investments Ltd                       $741,079.17                 Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
10/11/2012   Cabot Global Investments Ltd   Deltek Inc                       $4,925,000.00                                 Bermuda Commercial Bank     Purchase of Deltek Inc 2nd Lien Debt
10/1/2012    Vision Solutions               Cabot Global Investments Ltd                       $192,111.11                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
 9/4/2012    Vision Solutions               Cabot Global Investments Ltd                       $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
8/22/2012    Sunquest Information Systems   Cabot Global Investments Ltd                      $3,284,057.43                Bermuda Commercial Bank     Make whole premium on sale of Sunquest Systems
8/22/2012    Sunquest Information Systems   Cabot Global Investments Ltd                     $45,641,890.07                Bermuda Commercial Bank     Return of Principal on sale of Sunquest Systems and final interest
 8/1/2012    Sunquest Information Systems   Cabot Global Investments Ltd                       $234,322.40                 Bermuda Commercial Bank     Interest on Sunquest 2nd lien
 8/1/2012    Vision Solutions                Cabot Global Investments Ltd                      $219,555.56                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
7/31/2012    Applied Systems                 Cabot Global Investments Ltd                      $620,692.01                 Bermuda Commercial Bank     Interest on Applied Systems 2nd lien
 7/2/2012    Vision Solutions                Cabot Global Investments Ltd                      $198,972.22                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
6/29/2012    Sunquest Information Systems    Cabot Global Investments Ltd                      $212,354.68                 Bermuda Commercial Bank     Interest on Sunquest 2nd lien
6/13/2012    Cabot Global Investments Ltd    Applied Systems Inc            $10,162,486.23                                 Bermuda Commercial Bank     Purchase of Applied 2nd lien
 6/1/2012    Vision Solutions                Cabot Global Investments Ltd                      $212,694.44                 Bermuda Commercial Bank     Interest on Vision Solutions 2nd lien
5/31/2012    Sunquest Information Systems    Cabot Global Investments Ltd                      $491,937.55                 Bermuda Commercial Bank     Interest on Sunquest 2nd lien
5/31/2012    Cabot Global Investments Ltd    Sunquest Information Systems    $2,090,000.00                                 Bermuda Commercial Bank     Purchase of Sunquest 2nd lien
5/31/2012    Spartacus Investments LLC       Cabot Global Investments Ltd                                      $1,374,704.85 Charles Schwab            Redemption from Spartacus for Cabot debt investment. A/C closed.
5/17/2012    Cabot Global Investments Ltd    Sunquest Information Systems   $14,381,328.38                                   Bermuda Commercial Bank   Purchase of Sunquest 2nd lien
5/11/2012    Vision Solutions                Cabot Global Investments Ltd                      $212,694.44                   Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 5/4/2012    Spartacus Investments LLC      Cabot Global Investments Ltd                                      $20,000,000.00 Charles Schwab            Redemption from Spartacus to meet Cabot debt investment
 5/1/2012    Applied Systems                Cabot Global Investments Ltd                       $474,640.62                   Bermuda Commercial Bank   Interest on Applied Systems 2nd lien
4/30/2012    Sunquest Information Systems   Cabot Global Investments Ltd                       $147,659.20                   Bermuda Commercial Bank   Interest on Sunquest 2nd lien
3/30/2012    Vision Solutions               Cabot Global Investments Ltd                       $205,833.33                   Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
3/30/2012    Sunquest Information Systems   Cabot Global Investments Ltd                       $142,896.00                   Bermuda Commercial Bank   Interest on Sunquest 2nd lien
 3/1/2012    Vision Solutions               Cabot Global Investments Ltd                       $198,972.22                   Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
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 2/29/2012   Sunquest Information Systems    Cabot Global Investments Ltd                     $427,100.27                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
  2/1/2012   Applied Systems                 Cabot Global Investments Ltd                     $464,093.06                 Bermuda Commercial Bank   Interest on Applied Systems 2nd lien
  2/1/2012   Vision Solutions                Cabot Global Investments Ltd                     $219,555.56                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 1/31/2012   Sunquest Information Systems    Cabot Global Investments Ltd                     $152,422.40                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
12/30/2011   Sunquest Information Systems    Cabot Global Investments Ltd                     $142,896.00                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
12/30/2011   Vision Solutions                Cabot Global Investments Ltd                     $205,833.33                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
12/1/2011    Vision Solutions                Cabot Global Investments Ltd                     $205,833.33                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
11/30/2011   Sunquest Information Systems    Cabot Global Investments Ltd                     $431,863.47                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
11/4/2011    Cabot Global Investments Ltd    Applied Systems Inc             $9,579,989.89                                Bermuda Commercial Bank   Purchase of Applied 2nd lien
11/4/2011    Cabot Global Investments Ltd    Applied Systems Inc              $509,249.30                                 Bermuda Commercial Bank   Purchase of Applied 2nd lien
11/4/2011    Cabot Global Investments Ltd    Applied Systems Inc             $9,697,485.20                                Bermuda Commercial Bank   Purchase of Applied 2nd lien
11/1/2011    Vision Solutions                Cabot Global Investments Ltd                     $212,694.44                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
10/31/2011   Sunquest Information Systems    Cabot Global Investments Ltd                     $147,659.20                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
10/21/2011   Spartacus Investments LLC       Cabot Global Investments Ltd                                   $20,000,000.00 Charles Schwab           Redemption from Spartacus to meet Cabot debt investment
10/6/2011    Spartacus Investments LLC       Spartacus Investments LLC                                      $41,275,365.30 Charles Schwab           Sale of 434,075 shares in Rydex FXC
10/3/2011    Vision Solutions                Cabot Global Investments Ltd                     $212,694.44                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
9/30/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $142,896.00                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
8/31/2011    Cabot Global Investments Ltd    Sunquest Information Systems    $6,050,470.17                                Bermuda Commercial Bank   Purchase of Sunquest 2nd lien
8/31/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $390,184.60                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
8/31/2011    Vision Solutions                Cabot Global Investments Ltd                     $219,555.56                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 8/1/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $109,857.80                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
 8/1/2011    Vision Solutions                Cabot Global Investments Ltd                     $198,972.22                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
 7/1/2011    Vision Solutions                Cabot Global Investments Ltd                     $205,833.33                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
6/30/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $162,892.60                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
 6/1/2011    Vision Solutions                Cabot Global Investments Ltd                     $226,416.67                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
5/19/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $316,329.00                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
 5/4/2011    Spartacus Investments LLC       Spartacus Investments LLC                                      $45,299,970.73 Charles Schwab           Purchase of 434,075 shares in Rydex FXC
 5/4/2011    Vision Solutions                Cabot Global Investments Ltd                     $157,805.56                 Bermuda Commercial Bank   Interest on Vision Solutions 2nd lien
4/19/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $111,891.00                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
4/12/2011    Cabot Global Investments Ltd    Sunquest Information Systems    $1,375,171.70                                Bermuda Commercial Bank   Purchase of Sunquest 2nd lien
 4/5/2011    Cabot Global Investments Ltd    Vision Solutions               $25,740,000.00                                Bermuda Commercial Bank   Purchase of Vision Solutions 2nd lien
3/31/2011    Spartacus Investments LLC       Cabot Global Investments Ltd                                   $26,000,000.00 Charles Schwab           Redemption from Spartacus to meet Cabot debt investment
 3/9/2011    Cabot Global Investments Ltd    Sunquest Information Systems    $7,346,309.45                                Bermuda Commercial Bank   Purchase of Sunquest 2nd lien
 3/7/2011    Spartacus Investments LLC       Cabot Global Investments Ltd                                   $10,000,000.00 Charles Schwab           Redemption from Spartacus to meet Cabot debt investment
2/23/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $125,937.50                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
 2/1/2011    Sunquest Information Systems    Cabot Global Investments Ltd                     $113,750.00                 Bermuda Commercial Bank   Interest on Sunquest 2nd lien
12/21/2010   Cabot Global Investments Ltd    Sunquest Information Systems   $14,700,000.00                                Bermuda Commercial Bank   Purchase of Sunquest 2nd lien
12/17/2010   Spartacus Investments LLC       Cabot Global Investments Ltd                                   $10,000,000.00 Charles Schwab           Redemption from Spartacus to meet Cabot debt investment
11/18/2010   Universal Computer Software Ltd Plattoon Investments Ltd                                         $542,947.30 Butterfield Bank          Final transfer from UCS to Plattoon
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Memo to:     Evatt Tam ine

Date:        February 5, 2010

Subject:     Performance Review

What went well:

Once again your self evaluation is remarkably accurate. This in itself is a compliment to
your logical evaluation of circumstances.

Overall you had a very excellent year which results in full attainment of your $100,000
target bonus.

Goals for 2010

   1) Endeavor to deal with the Founding Partners and Arboria issues as best you can.
      This will include participating in any mediation. However there is ongoing need
      to be cautious about acquiring too high a profile.

   2) Monitor the ongoing legislative process in the USA and other jurisdictions and
      facilitate whatever restructuring ends up being required.

   3) Take over the financial reporting processes from James Gilbert. The goal to be
      achieved is:
            -establish use of an accounting software package that is a true double
            entry accounting system with proper journals, schedules, and general
            ledger with financial reports are produced
            -where the financials have columns for the previous 5 years that show all
            amounts for all lines on the P&L and Balance sheet — as well as for the
            current 6 month period

   4) Conduct a semi-annual financial review of all entities face to face by the end of
      the first half of the year

   5) Scan the box of miscellaneous documents and add them to the image database

   6) Reorganize the boxes of original documents such that historical files of
      discontinued entities are segregated into their own box(es)

   7) Request an asset ledger from Mountain Queen, Inc. that details all of the real
      estate, improvements, and furnishings. They should be keeping this for
      purposes of calculating depreciation — but they need to be asked.




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  8) Endeavor to continue to harden the RADMIN and email server reliability by
     acquiring additional UPS power sources — and if possible — provide for
     monitoring while you are away.

  9) Continue to address the projects on the To-Do List.

   10) Arrange for audited financials for those entities that need to have audits

   1 1) Annually verify that there are letters of resignation from all trustees and that Bob
       has the originals

   12) Update the To-Do list at least monthly


General Goals for Every Year

   1) Continue to work to reduce the number of entities as this makes all processes
      simpler creating more time to focus on investment programs.

  2) Continue to keep the document image database up to date constantly

  3) Continue to keep the entity/significant transaction database up to date constantly

  4) Publish the Cash Report monthly

   13) Convert to keeping all email and financial records on an encrypted USB dongle
      carried in a different location in luggage when traveling abroad

   14) Continue to update the accounting reports to the document image database

   15) Operate as much as possible in a paperless manner — such that if someone
      were to come in your door unannounced everything would be in encrypted digital
      form

   16) Complete adding the documents and significant transactions for superseded
      entities to the respective databases on a piecemeal basis during the year

   17) Run Evidence Eliminator at least weekly on your computer

   18) Keep your computer system running perfectly — get whatever you need for
      maximum productivity and backup

   19) Get Don's computer environment operating on RADM IN

  20) Continue basic education in accounting, bookkeeping, auditing, and financial
     controls




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21) Maintain all working entities in good standing so that their legal existence can
   not be questioned

22) Maintain relationships with service providers — bearing in mind that not a lot
   should be expected from them — never take for granted that they are doing what
   they should be doing which will require constant monitoring of their reports,
   primarily their financial reporting — Gordon Howard being the key service provider
   that would be most problematic to replace — look to Peter Mitchell potentially
   being a successor to Gordon should Gordon no longer be capable

23) To the extent possible, no service provider should become crucial — always be
   thinking about portability and alternate providers should the need arise

24) Regardless of the level of non-performance of a service provider, a cordial
   professional relationship should be maintained — unless a high level policy
   decision to do otherwise is made

25) In the event of non-performance of a service provider or investment, the policy
   will always be to withdraw quietly — unless a high level policy decision to do
   otherwise is made

26) Continue the excellent work on the spreadsheet for expenses of each service
   provider such that detail entries by type of expense are kept so as to support the
   annual expenses for each service provider

27) Coordinate the charitable giving initiatives of the AEBCT

28) Monitor your levels of daily effort so as to avoid burn-out. Engage in a regular
   fitness program with proper diet so as to stay in top physical condition.

29) Other than your personal vacation travel, I recommend that you conserve the
amount of travel that you do for business as your control of everything will be
directly related to the amount of time you spend in front of your multi-monitor
computer system at home in France.

30) Plan your life for healthy, balanced, stable, long-term productivity

31) Although you have several personal friends in Houston that I am sure you want
   to maintain, please restrict your contact with the USA generally such that except
   for these few — you tend to fade into the background




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Compensation


Your annual remuneration for 2010 will be increased to an annual salary of $325,000
plus a bonus opportunity of $125,000.


Conclusion

Your continued excellent performance in all aspects of your job are noted and
appreciated.




On Behalf of Spanish Steps Holding LTD




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TO DO LIST — TANGARRA
                                                        revised March 19, 2013

VISTA EQUITY FUND'

-make a commitment to Vista Foundation Fund 2(VFF 2)

PROJECTS — NEW — Investment Advisory Company(on hold)

-this should be an LLC owned directly by RTB that provides investment advice to Point

-the LLC should be US based with a year-to-year contract with Point such that at some
point a new entity that included RTB II could be formed to take over the business

-investments should be made directly by Point as this is an already established entity
through which SSHLTD has historically made investments — which have provided the
AEBCT with a further liability shield

-fee percentage should be industry standard and may be different based upon the
investment mix, fee is adjusted annually, amount of fee is regulated by how much
capital is committed

-consider Debevoise for drafting the investment advisor company contract

-this entity only provides recommendations to Point, it does not act for Point so as to
avoid any FBAR requirements

-RTB must register as an investment advisor

Private Equity entity (on hold)

-a separate entity which would be a Private Equity manager could also provide
management services to portfolio companies allowing further income that is tax
deductible to the portfolio companies

-when Point wants to directly invest in a US company, it should do with the Private
Equity manager described above — to avoid getting entangled with a US trade or
business regs




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PROJECTS — OTHER

-doomsday documents - need wet-ink signed documents by Duncan Hall, Cris
Ruffel-Smith, and Evatt that establish control over the Trust Protector and Private
Trust Company entities such that there is one envelope of documents each for:
      -St. John's structures
      -entities that have funds in Cabot
      -entities that have funds in Edge
      -entities that control Regency

-Evatt to submit calculations of incentive plan

-formal response to 2012 progress on goals to be written

 -republish structure charts after the replacement of the Massengill trusts
(outstanding)

-keep a running spreadsheet on private equity commitments (still outstanding)

-keep a running spreadsheet on charitable contributions forever to date, that also
includes commitments that have not yet been funded (still outstanding)

-build a complete description of all the 2011 organizational changes (this has
been received, RTB to find it)

-Rob Nalley needs to be replaced as Trust Protector for Seneca

-create master document by entity of all bank accounts, signatories, and contact
persons within the banks — republish when any changes occur — add section for
comments — such as relationship details — key people, needs more updates to
online access, add new accounts(need update)

-this should include all information necessary to be able to log on to these accounts to
verify balances,(need fresh update on passwords)-remaining sets of externally kept
books are — Spartacus, Augustus (phasing out)(Dan Jenkins), SSHLTD (Jim Collins —
now in Scotland), Point(now Evatt with James Gilbert as backup signatory)

-need to find a way that someone else runs Point in order to satisfy the auditors




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CONTINUING REPORTING

-need details on Evatt expenses for 2012(received)(annual reporting)

-build for the years 2010-2011 a log of significant transactions — and continue to
update this log forever — so that it is easy to see how asset balances move
around (received)

-there are documents stored in a storage unit in Bermuda — need instructions on
how to find it and keys (received)

-need a floorplan of Evatt's house and directions where everything is (received)

-need inventory of St. John's two safe deposit boxes, where they are located,
where the keys are, who signatories are (received)

-annual review of Carlos Kepke files

-annual trust meeting to be set at a new date and time — by phone this summer of 2013




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PROJECTS - TRUSTEES & TRUST PROTECTORS

-establish Graham Wood as Trust Protector as Acquitaine which becomes the
corporate Trust Protector where Graham Wood is Director (done)

-document telephone conversation with Trevor Lloyd prior to his death where he
      resigns and concurs with your suggestion as Graham Wood personally as
      successor — provide an original wet-ink signed copy of this memo to Bob

-have Graham Wood personally resign and do a formal deed appointing his corporation
signed in wet ink

-for backup purposes, secure a wet-ink signed letter of resignation and appointment of
a new Trust Protector with date and appointee left blank — send this to Bob

-secure a digital signature from Graham Wood along with a wet-ink signed authorization
to use it, provide this signature to Bob along with an original of this authorization

-prepare an Adobe version of the formal deed with date and appointee left blank ready
for use with the digital signature — send a copy of this to Bob

-Heather now works part-time — where she continues to handle St. John's, AEBCT,
SSHLTD, books for SSHLTD, Rome Investments, and the local Bermuda scholarship
activities

-cultivate Mark Patterson as a future Trust Protector, perhaps a golf trip to Bermuda

-have RTB II visit Bermuda

-begin to consider how to provide backup to Evatt — qualifications are:
       -accounting background
       -not a US citizen
       -capable of acquiring a Bermuda work permit of at least 10 years
       -might discover someone thru the scholarship program

-James Gilbert is an interim backup for Evatt, should the emergency need arise.
     -he is from NZ and currently works for UBS in Cayman — age 40 +- very familiar
     with Edge and Cabot — wife is English —

-Evatt is going to seek assistance from Kalamazoo to locate a more junior accountant
or lawyer preferably from NZ, Australia, South Africa, or Canada that is interested in a
long term career in the offshore world

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-need James Gilbert contact information




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PRIVATE MUTUAL FUND ADMINISTRATION

-liquidate Arboria - $3.1M recovered, rest is tied up on the backend of Madoff

-liquidate Founding Partners — ongoing — awaiting judge's order to take over
operations

CURRENT INVESTMENTS — this section is starting to be re-opened due to, and
the improving environment

-best option for investments seems to be LIBOR-based second lien debt in Vista
companies

-follow for any potential recovery
       -Bristol — write-off — continue to follow for recovery — partial distribution of $1.7M
        received — some potential for minor recovery $140-150K

-complete losses
      -STIR — liquidated at $5M loss in total
      -Core Digital — write-off
      -Rosefaire FCS 10% interest $1.8M
      -A/R from Gate —




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NEW INVESTMENTS

-periodically think about asset allocation

-receipt of cash from sale of Reynolds is unlikely for the next 2 years according to
current thinking — then the amount will be around $2B

-made $600M initial committement to VEPFIV, made $400M contribution to the VEPFIV
co-invest fund to purchase MiSys

-VFF $50M commitment

-Vision Solutions 2nd lien debt $26M

-Applied 2nd lien debt $20.524M

-MiSys

-P2

-SumTotal

-Deltek

-if management buyout of Reynolds does not take place and an outright sale takes
place, start a private equity type operation focusing on software companies like Vista
does using former Reynolds personnel

-set up an investment management firm that advises Point (and if advisable — SSHLTD)

POTENTIAL CHARITABLE DONATIONS
     -Centre — additional land $6M
     -Centre — Tolliver School?
     -Rice — Opera Hall $35M

CHARITABLE DONATIONS
    -Rice University — Physics Building - $20M
    -Centre College $19.5M comm ittment
    -Lance Gould $4.5M
    -Stuart Yudofsky - $25M



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DOCUMENTS

-preparation of doomsday groups of documents for former Edge and Cabot structures
once their re-organization is done

RECORDS

-St. John's has two boxes — close out these two boxes and move their contents to the
firefile at the storage location

TRIPS

-starting April 8th until the end of May — stay in southern UK every other week
-starting June stay until 3 weeks after the birth of the baby girl, Sophie comes home 6
weeks after birth

-bank visits in April to Geneva, Abu Dhabi, Dubai

-Panama visit

-trip to Argentina mid October

-BVI with Don Q3 2013 — to retrieve Peter Poole documents

-USA — open — unlikely until fall 2013

-Australia and Singapore — Christmas time 2013




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STRATEGIC LONG-TERM

-Bob & Dorothy redo wills for US estate setting US testamentary trust for care of
      Robert II

-need a document describing what to do in the event of my demise — similar to the one
prepared for the company

-need to revise succession plan for Reynolds

-in the event of premature demise of RTB, offshore world (other than AEBCT and its
affiliates) should be held for RTB II to eventually manage (Dorothy will be involved in
the AEBCT structure)

-the long term vision is as follows:

       -RTB hopefully lives a long, healthy life
       -after Reynolds RTB engages in private equity investments much like Vista
       -former Reynolds key personnel join this organization — or alternatively
               participate in a LBO/Preferred Stock bailout/MBO
       -RTBII finishes his education in a technical area (PhD)and also gets an MBA
       -RTBII eventually finds the right lady and starts a family (and stays in Houston)
       -RTBII joins RTB in private equity operation — or investment advisory operation
       -the private equity operation earns fees for managing AEBCT funds at industry
               standard rates providing a living for RTB and RTBII
       -the AEBCT continues to engage in charitable giving in the areas of higher
               education and medical research
       -the corpus of AEBCT is eventually rolled over to AEBGCT or one of the PBB
               trusts

-the disaster scenario where something untoward happens to RTB is as follows:

       -a US-based trusted person holds the ownership papers of the trust protector
              Corporations
       -this US-based person (Al Deaton) endeavors to guide RTBII in the long term
              vision laid out above
       -there is a backup person (Robert Burnett) to the US-based trusted
              person
              referred to above




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ENTITY STRUCTURE

-both Massengill trusts are replaced with purpose trusts

-Performance is rolled into Addington

-Legend is kept as paymaster, moved under Messery Charitable Trust

-updated structure charts need to be sent when all of this gets done

-reduce the number of entities - or at least focus on getting rid of inactive entities




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COMMUNICATIONS/PC ISSUES

-need step by step instructions on how to use digital signatures

-need the digital signatures and passwords

-convert Edge and Cabot on to the same accounting system as Point

-convert usage of logic.bm to tangara.com (a new Kerio email server)

-replace the software for houstonfishingservice.com with Kerio — use only in
emergency when lambdaprime.org is down

-create another email server (using Kerio) and transition all third parties to use
this email address, leaving only personal email on logic.com (later tangara.com)

-transition to proventusconstans.com email server this Sunday afternoon

-encrypt proventusconstans email server and backups

-continue to think about a way to backup computer systems to a fireproof and
secure location to overcome the issue of having to manually take backup disks to
offsite fireflies

-try Lifesize using a combination of desktop computer to Dell big laptop
computation to see if it is the computer speed vs. the encryption overhead

-try Lifesize with the encryption turned off

-is the Lifesize trial being done with a Facevision camera that compresses the
video stream coming from the camera to be sent down the comm circuit? A
regular video camera may not compress the video.

-consider creating a VPN tunnel from Houston to Bermuda to facilitate encrypted
point to point video conferencing




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STANDARD MEETING AGENDA

-review cash balances
-review charitable gift history and open commitments
-review Vista open committments
-review other investments
-review structure documentation
-discuss status of each structure
-review status of files
-review status of PC systems and software

CHANGES TO ORG CHARTS

-on the Cascade page — put(CTL $109M) under the Cascade box
-on the Addington page — put (TIL $111.7 Cabot, $12.1 Edge)
-on the private trust company page — Put "going away" by Gorry, put Don under
Chancellor, put Nalley under Chamberlain, put Massengill under Providence
-on the trust protector page, put Don under Appanage, put Cascade-Alpheus, Regency,
Addington under Paragon



ENTITIES IN WIND-DOWN MODE — BUT STILL NOT GONE

-shut down Software BV — in liquidation process — final complete in 2017




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DANGLING THREADS

-CITGO - used to be in BVI, but now Heritage documents that they have are in
Georgetown, will be retained forever - used to own CTL, Master, Kojak, Micro-
Mainframe, Peters - left there is correspondence with Don, trust deed copies, being
returned to BVI hopefully — status is that they cannot find these files

-Bank of Bermuda - there will be some left over internal memos written by bank officers
in their personal file at least and there are microfilm copies of incoming mail

-Carlos' correspondence, billing, multiple destination, and computer files (gone)

-files of Ken, Robert, Craig - Mexico

-Brook Voght=s files - whatever is left on their network server and its backups, same
for what is at his new law firm

George Hani=s files - same issue as Brook

Ben's Jiltec and SFL records - initial reply was 10 years - find out what is the situation
on Ben=s correspondence files (maybe destroyed by hurricane)

Butterfield Cayman - computerized accounting records of everything - CTL, Jiltec, SFL,
Kojak

Baring Bros. - TIL audit reports, Carlos' correspondence, trust variance documents

VP-Bank copying of structure files and who knows what else — Glen Godfrey

VP-Bank bank records

ATU — files left behind

Malta — DBA, Providian — they will not destroy the copy of anything they ever sent out to
us

Nevis — Willow activity in the 2000-2001 timeframe

Edge involvement in VEFII

Don's paper files that still may be about — unknown for sure

Don's miscellaneous computer files — allegedly he is putting the hammer to them 5/12

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Peter Poole's office — allegedly he is going to give us all of these


While I was in Houston a question came up as to the Edge connection to VEFII.

I can report that by way of Sale and Purchase agreement dated August 24, 2004,
$154,582,366 was paid by Point in consideration for Edge's interest in VEFII.

What we cannot tell is how this and Edge's other connection with VEFII was recorded
by Vista.

It might be a worthwhile project in the future to review Vista's records and request
destruction to the extent that we can. Allegedly according to RS, all of this has been
destroyed

-On May 23, 2011 Evatt(once again) sent an email through the [ HYPERLINK
"mailto:etamine@logic.bm" ] email account. This message contained an
attachment of an Excel spreadsheet listing of all the original documents kept in
Houston. This email will be kept in perpetuity in the backup tapes of logic.bm. This is
the worst breach of security ever to happen to date.

-On June 25, 2012 Evatt sent an email through [ HYPERLINK
"mailto:etamine@logic.bm"]that was unencrypted to my email address at
lambdaprime. This exposed my email address, exposed Heather's name and her
access to computers, and disclosed we use SKYPE to communicate. This information
will be retained forever as an email from [ HYPERLINK "mailto:etamine@logic.bm" ] —
which is a widely know email account. This traffic was also exposed over the open
Internet from France to Bermuda (which was likely routed through NYC on the way).




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                  EXHIBIT

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To:            Bob Brockman

From:          Evatt Tamine

Date:          January 3, 2010

Subject:       2009 Performance Evaluation




This has been a year of consolidation after the turmoil of 2008, many operational
changes and Don's move into semi-retirement. It has also been an odd year in
that some things that have gone well have aspects that have not gone so well, e.g.
the computer setup is working well, while the reliability in the use of Radmin is
not where it should be.


What went well?



1.      Following on from the reduction in the number of companies as well as
        the reduction in the use of outside service providers, we are at a point
        where we almost completely control documentation pertaining to our
        business. The remaining pieces, such as PWC in Malta and CIBC in
        Cayman Islands, deal with very small sums of money. The documents
        that they receive or produce, e.g. bank statements and financial reports
        should not attract any attention or trigger any review. For the most part,
        I am creating the documents that record all transactions. I think that I
        have successfully reduced the risk that documents which might be
        disclosed would lead to unfavorable interpretation. This is particularly
        important as we have moved into a new era of information disclosure
        with hostile regulatory authorities.

2.      In connection with the last point, the reduction in the number of outside
        service providers or, where we still use them, the reduction in the work
        they do for us also means that we control the knowledge of our affairs. I
        have substantially decreased the work that Peter Poole at Sable Trust
        does for us. The way this has been done is useful in that it has been
        gradual and natural, i.e. we have made no sudden moves that would


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       attract attention. With the regulators placing the onus on service
       providers to gather information and documentation, which they should
       be prepared to disclose, the timing is very good.

3.     In reducing the number of service providers and taking on to myself
       more of the work I believe that I have also been very successful in saving
       even more costs.

4.     Once again I have spent a large part of the year in re-structuring in order
       both to reduce expense and administrative burden. I continue to carry
       out this process in an orderly and well documented fashion. I believe
       that the work I have completed puts us in a position to consider big
       changes such as combining Edge and Cabot or severing the connection to
       Don's group of companies(while still assisting Don in looking after his
       personal affairs). The way in which we have restructured — particularly
       for Edge and Cabot as Nevis entities — means that we can make changes
       without all the disclosures that would have been necessary previously.

5.     While it has taken a lot longer than I has expected, I believe that I now
       have James Gilbert on top of his books. You are aware of the difficulties
       we have had with James(and I will address this in the things where I
       need improvement) however I believe that I have managed the situation
       with James in an appropriate manner.

6.     I continue to document the movement of assets within the group,
       creating a proper commercial basis for all asset movements with the
       paper trail.

7.    A successful change that I have managed, which I believe to be quite
      important is the re-domicile of Point Investments Ltd from the BVI to
      Bermuda. There were the immediate benefits in making this move, e.g. a
      better regulatory regime for private mutual funds as well as avoiding the
      new BVI reporting and disclosure regulations. With a longer term view,
      we have taken control of Point Investments Ltd. Other than Dan Voth,
      no other person has a hand in Point before the investment in the Vista
      private equity funds. In an era when we should expect US IRS enquiries
      generated because of the investment in Vista, I believe that I have placed
      us in a strong position to deal with anything that arises. Dealing with
      regulators is an area in which I believe that I have a real ability. Before
      the move of Point, Conyers Dill & Pearman would have responded for
      Point to any regulatory enquiries. I believe that I would do a


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       substantially better job.

8.     On many occasions this year — and the number increases each year — I
       have successfully undertaken tricky due diligence exercises. Most
       enquiries are generated by Vista's investments where we are pressed on
       Point's beneficial ownership; however I have also dealt with several of
       these enquiries for Spanish Steps and Edge. On each occasion I have
       walked us through with minimal disclosure. Another advantage of the
       changes I referred to above is that in reducing the number of service
       providers we will see a reduction in the number of these enquiries. Most
       providers in the offshore world are now making KYC an annual review
       requirement.

9.     While nowhere near the levels we hoped to achieve, I managed to
       establish relationships with Deutsche Bank and buy Reynolds debt. We
       are one of the larger holders in the second and third liens. The debt I
       managed to secure represents a large saving as well as interest income.
       From a no-experience start, I gained a good understanding of distressed
       debt market. If Reynolds prices drop again, I have established three
       relationships (Deutsche Bank,Jefferies and Morgan Stanley) where I can
       pursue further debt. One of these relationships is set up for the Cabot
       group. I believe that my reporting on this has been satisfactory, as well.

10.    My financial reporting has improved a great deal. There are times when
       the monthly cash report is delayed for an extended period, which is
       unsatisfactory, however that relates directly to Point, where we must
       wait on Vista reporting. When we have the quarterly reports from Vista,
       I can manage to get the cash report out within three weeks of month end.
       For example, the November cash report was delivered by the 10th day of
       December.

1 1.   Following the debacle of the Founding Partners investment, I have taken
       a lead role in looking for strategies that would see a return on the
       investment. I believe that I have been successful in doing this on a very
       low key basis and have done it without disclosing any information about
       Edge Capital Investments Ltd.

12.    Similarly, I have maintained pressure on Arboria, though we continue to
       receive little information.

13.    Throughout the year I have regularly updated the report on fees and


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      expenses. You will recall that I created the detailed report for the years
      2005-2008. I hope to deliver the report for 2009(with the previous four
      years) sometime during February, subject to the availability of
      information.

14.    Other than the ongoing reliability issues in operating Radmin,I believe
       that I continue to improve my skills in the IT area. On a personal level,
       my computer setup had very few problems and such problems as I
       encountered I was usually able to fix myself. I believe that I have some
       ideas which are beneficial, e.g. using two external hard drives for True
       Image backups.

15.    I have maintained very good working relationships with all key people.
       I stay in contact regularly with Don as I do with Gordon Howard,Trevor
       Lloyd and Cris Ruffell Smith. Other than Don,the relationships are
       friendly without ever losing sight of the professional nature of the
       connection. I have managed the move from ATU very well. Peter
       Reichenstein and I have the odd email communication and he is very
       helpful in providing any information we ought to have, e.g. legislative
       changes etc. I also have a good relationship with Peter Mitchell upon
       which we could build should he replace Gordon Howard.

16.    I believe I manage Heather Corbett and James Gilbert well. I am not a
       natural manager of people. In my limited way, I am doing well in this
       area. I will also address some of this area in things that did not go well.

17.   I have been able to build some professional relationships with people
      who can properly advise us on key matters, such as Stephen Vetter (the
      US lawyer) who understands US tax and the offshore very well. Our
      relationship with Stephen is such that where possible he will give me
      direct, informed answers immediately over the phone. His services are
      also a fraction of the cost SAB and Baker Botts while also being far more
      relevant to our operations.

18.   I continue to continue to maintain a now settled system of getting
      original documents to Houston with a detailed inventory. Other than a
      box of documents in Houston and a handful of Don's documents in the
      dungeon (which will be cleared out on Tuesday 5th January) I have now
      been through every document known to you, Don and myself.

19.    Maintaining good relationships with all service providers as well as


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       Robert Smith and his people at VEP. I am now firmly established as the
       key contact person for all for service providers. Working well with
       Robert Smith and his team has been particularly successful. I know that
       Robert views me as someone who helps him in getting his investments
       completed.

20.    Maintaining the document database.

21.    Continuing the control of all companies and trusts with no compliance
       problems.

22.    Continuing in a very good relationship with Don and Melissa.

23.    Per the 2009 list of goals set by you, I think most have been accomplished
       as per the attached spreadsheet.

24.    On a personal note the year has been highly successful. The baby has
       made a huge difference to bonding with Sophie's children and they look
       to me more as their father. Since I work at home and spend a lot of time
       with Sophie and the girls, it is important that we all get on so well.

Things that need improvement:

1.    Something that I need to work on is managing people in an
      employer/employee relationship. While James Gilbert is now showing
      signs that he will get on with preparing the financial reports, it took me
      quite some time to deal with his delays. I was very uncertain in how to
      deal with James' delays. On a positive note I felt very confident in pointing
      out his errors in the reports he did prepare and for the most part I was
      right. I must improve in the area of managing subordinates.

2.    It took too long to get the computers to a point where they are working
      reliably for the use of Radmin. Some of these problems were beyond my
      control, e.g. electricity supply into the house. These issues have been
      addressed; however we continue to have problems with your laptop
      occasionally shutting down. I need to ensure that this does not happen as,
      when I am away from France, as I am now, there is no way to re-start the
      computer until my return.

3.    Once again, I have not taken enough exercise. I am playing squash
      regularly and have been going to fitness classes weekly, however I need to
      increase this as well as improving my diet.


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4.   I need to work better at finding a way of obtaining Vista financial
     information which would speed up the delivery of the cash report.



Conclusion:

2009 was again a busy year in which I believe we solidified many of the changes
which we went through in the past two or three years. I think that my efforts will
have contributed to a successful operation for years to come while reducing our
exposure to attack from regulators.

As we slowly rebuild form the losses of 2008, we are in a good position to invest
again at some time in the future.



Evatt




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                                 2009 GOALS AND RESPONSES


                        2009 GOALS                                        RESPONSES

1   The project of highest priority for 2009 is to        Managed to purchase a solid amount of debt
    successfully purchase all of the 2nd and 3" lien      before the prices increased. Became very
    Reynolds debt at the current deep discounts.          familiar with the debt market.
    This endeavor is once again into uncharted
    waters. However it is necessary to venture into it
    so as to protect Reynolds from vulture distressed
    debt purchasers that could at some point gain
    control by foreclosure processes.
2   Endeavor to get the cash back out of Founding         Heavily involved in all strategies for
    Partners and Arboria so that the funds can be         recovering Founding Partners. Keeping
    used to purchase Reynolds debt at a discount.         pressure on Arboria for returns.
3   Finalize the documentation regarding Don's            Completed.
    continuing duties and remuneration.
4   Get financial reports prepared during the year for    I am ensuring that the financials are coming
    the various entities on a timely basis. The goal to   in, however I need to do better work on a
    be achieved is:     (a) semi annual face-to-face      report for keeping track of these as well as
    review of the financial position of all entities at   arranging the meetings to review the
    one time; (b) review takes place 4 months             financials.
    after the end of the review period so that all
    numbers from the various entities have been
    reported; and, (c) where the financials have
    columns for the previous 5 years that show all
    amounts for all lines on the P&L and Balance
    sheet — as well as for the current 6 month period
5   Publish the Cash Report monthly                    Ongoing. Only delay now is waiting for
                                                       numbers from Point Investments, which
                                                       waits upon Vista.
6   Convert to keeping all email and financial records Standard practice now. SD cards large
    on an encrypted USB dongle carried in a different enough are now available and I will move to
    location in luggage when traveling abroad          those when I can find one that can be
                                                       formatted NTFS.
7    Establish a safe deposit box in Switzerland for   Application made in Switzerland. Waiting
    backup of digital records                          for box.


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8    Arrange for audited financials for those entities    Ongoing and completed.
     that need to have audits
9    Annually verify that there are letters of            Completed.
     resignation from all trustees and that Bob has the
     originals
10   Update the To-Do list at least monthly               Ongoing and completed.



     General Goals for Every Year


1    Continue to work to reduce the number of             Ongoing and completed.
     entities as this makes all processes simpler
     creating more time to focus on investment
     programs.
2    Continue to keep the document image database         Ongoing and completed.
     up to date constantly
3    Continue to keep the entity/significant              Ongoing and completed.
     transaction database up to date constantly
4    Continue to update the accounting reports to the     Completed. We appear to have all reports
     document image database                              that are available in the database.
5    Operate as much as possible in a paperless           Ongoing and completed.
     manner - such that if someone were to come in
     your door unannounced everything would be in
     encrypted digital form
6    Complete adding the documents and significant        Completed. We appear to have all available
     transactions for superseded entities to the          documents in the database with the exception
     respective databases on a piecemeal basis during     of the box of documents in Houston.
     the year
7    Run Evidence Eliminator at least weekly on your      Ongoing
     computer
8    Keep your computer system running perfectly -        Power issues are hopefully behind us.
     get whatever you need for maximum                    Backup regime is well settled. Radmin works
     productivity and backup                              but I must still find a way of improving the
                                                          reliability of the laptops so that they will not
                                                          automatically shut down. Alternatively, I
                                                          must find a way for re-starting a laptop
                                                          remotely, which also allows for Securedoc to
                                                          boot.


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9    Keep Don's computer environment operating on        I need to help more with getting Don to use
     RADMIN                                              Radmin.
10   Continue basic education in accounting,             Ongoing and improving.
     bookkeeping, auditing, and financial controls
11   Maintain all working entities in good standing so   Ongoing and completed for 2009.
     that their legal existence cannot be questioned
12   Maintain relationships with service providers —     Relationships are all going very well and are
     bearing in mind that not a lot should be expected on a friendly but professional basis.
     from them — never take for granted that they are
     doing what they should be doing which will
     require constant monitoring of their reports,
     primarily their financial reporting — Gordon
     Howard being the key service provider that
     would be most problematic to replace — look to
     Peter Mitchell potentially being a successor to
     Gordon should Gordon no longer be capable
13   To the extent possible, no service provider should Ongoing
     become crucial — always be thinking about
     portability and alternate providers should the
     need arise
14   Regardless of the level of non-performance of a     Ongoing
     service provider, a cordial professional
     relationship should be maintained — unless a high
     level policy decision to do otherwise is made
15   In the event of non-performance of a service        Ongoing. All service provider changes have
     provider or investment, the policy will always be been slow and natural, thus saving fees and
     to withdraw quietly — unless a high level policy    keeping a good relationship on moving away.
     decision to do otherwise is made
16   Continue the excellent work on the spreadsheet      Ongoing and should have the 2009 report
     for expenses of each service provider such that     during February, subject to the receipt of
     detail entries by type of expense are kept so as to information.
     support the annual expenses for each service
     provider
17   Coordinate the charitable giving initiatives of the Ongoing.
     AEBCT




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18   Monitor your levels of daily effort so as to avoid    Need far more exercise and a better diet.
     burn-out. Engage in a regular fitness program         Working at home means that it is easy to fit in
     with proper diet so as to stay in top physical        family life around work - particularly since
     condition.                                            everybody - Sophie included - goes to bed by
                                                           9.00 pm.
19   Other than your personal vacation travel, I           Have reduced travel.
     recommend that you conserve the amount of
     travel that you do for business as your control of
     everything will be directly related to the amount
     of time you spend in front of your multi-monitor
     computer system at home in France.
20   Plan your life for healthy, balanced, stable, long-   Ongoing.
     term productivity
21   Although you have several personal friends in         On the last few trips to Houston, I have
     Houston that I am sure you want to maintain,          usually told no-one that I am there. Not just
     please restrict your contact with the USA             for the confidentiality purposes, but also
     generally such that except for these few — you        because I can focus on work and then get
     tend to fade into the background                      back to Sophie and the girls.




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TO DO LIST — TANGARRA
                                                        revised December 17, 2011

VISTA EQUITY FUND'

-made $600M initial committement to VEPFIV

-also consider debt fund that uses leverage and buys debt of Vista portfolio companies

PROJECTS — NEW — Investment Management Advisory Company

-it is time to proceed on this project by contacting Debevoise & Plimpton so that it can
start small and start getting some age on it

-this should be an LLC owned directly by RTB that provides investment advice to Point

-this entity could also provide management services to portfolio companies allowing
further income that is tax deductible to the portfolio companies

-the LLC should be US based with a year-to-year contract with Point such that at some
point a new entity that included RTB II could be formed to take over the business

-investments should be made directly by Point as this is an already established entity
through which SSHLTD has historically made investments — which have provided the
AEBCT with a further liability shield

-fee percentage should be industry standard and may be different based upon the
investment mix

-fee is adjusted annually

-amount of fee is regulated by how much capital is committed

-consider Debevoise for drafting the investment management company contract

-this entity only provides recommendations to Point, it does not act for Point so as to
avoid any FBAR requirements




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PROJECTS — OTHER

-build combined structure charts for the AEBCT structure (send me a complete
set of charts)

-republish structure charts after the reorganization of the three non-AEBCT
structures are done

-keep a running spreadsheet on private equity commitments

-build a complete description of all the 2011 organizational changes

-build for the years 2010-2011 a log of significant transactions — and continue to
update this log forever — so that it is easy to see how asset balances move
around

-create master document by entity of all bank accounts, signatories, and contact
persons within the banks — republish when any changes occur — add section for
comments — such as relationship details — key people

-due to Bermuda laws that enable assets to be frozen with essentially no right to
effectively protest thru the courts, all significant bank balances should be
elsewhere where the rule of law and the courts is still in place — probably
Switzerland — or maybe Panama

-this should include all information necessary to be able to log on to these accounts to
verify balances

-remaining sets of externally kept books are — Spartacus, Augustus(Dan Jenkins),
SSHLTD (Jim Collins), Point(now Evatt with Dan Voth for backup)

-need to find a way that someone else runs Point in order to satisfy the auditors




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PROJECTS - TRUSTEES & TRUST PROTECTORS

-establish Graham Wood as Trust Protector personally for the AEBCT, he then resigns
and Acquitaine becomes the corporate Trust Protector where Graham Wood is Director

-document telephone conversation with Trevor Lloyd prior to his death where he
      resigns and concurs with your suggestion as Graham Wood personally as
      successor — provide an original wet-ink signed copy of this memo to Bob

-have Graham Wood personally resign and do a formal deed appointing his corporation
signed in wet ink

-for backup purposes, secure a wet-ink signed letter of resignation and appointment of
a new Trust Protector with date and appointee left blank — send this to Bob

-secure a digital signature from Graham Wood along with a wet-ink signed authorization
to use it, provide this signature to Bob along with an original of this authorization

-prepare an Adobe version of the formal deed with date and appointee left blank ready
for use with the digital signature — send a copy of this to Bob

-Heather now works part-time — where she continues to handle St. John's, AEBCT,
SSHLTD, signatory on Point accounts, books for SSHLTD, Rome Investments, and the
local Bermuda scholarship activities

-visit Al Thorpe to establish record of trustee visiting one of the directors of UCSH

-annual review of Carlos Kepke files

-annual trust meeting to be set at a new date and time — perhaps mid-semester break
where RTB II can come to Bermuda (and Al Deaton as well)

-cultivate Mark Patterson as a future Trust Protector, perhaps a golf trip to Bermuda

-have RTB II visit Bermuda to meet Heather, BCB, BNTB

-begin to consider how to provide backup to Evatt — qualifications are:
       -accounting background
       -not a US citizen
       -capable of acquiring a Bermuda work permit of at least 10 years
       -might discover someone thru the scholarship program


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PRIVATE MUTUAL FUND ADMINISTRATION

-liquidate Arboria - $3.1M recovered, rest is tied up on the backend of Madoff

-liquidate Founding Partners - ongoing

CURRENT INVESTMENTS — this section is starting to be re-opened due to
Reynolds refinancing, Ventyx sale, and the improving environment

-Investment Policy for Mutual Fund Investments
      -Class 4 — 0% - money market — hold for emergency transfers
      -Class 3 — 50-60% low risk equity
      -Class 2 — 20-25% medium risk equity
      -Class 1 — 15-20% higher risk equity

-TradeTrakker
      Furnish new copies of portfolio whenever buy/sell events take place

-monitor current investment performance
      -30 day deposits getting .25%

-follow for any potential recovery
       -Bristol — write-off — continue to follow for recovery — partial distribution of $1.7M
        received — some potential for minor recovery $140-150K

-complete losses
      -STIR — liquidated at $5M loss in total
      -Core Digital — write-off
      -Rosefaire FCS 10% interest $1.8M
      -A/R from Gate —




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NEW INVESTMENTS

-periodically think about asset allocation

-receipt of cash from sale of Reynolds is unlikely for the next 2 years according to
current thinking — then the amount will be around $2B

-VFF $50M commitment

-Sunquest 2nd lien debt $29.487M

-Vision Solutions 2'd lien debt $26M

-Applied 2nd lien debt $20.524M

-new investment with VEPFIV, debt fund

-if management buyout of Reynolds does not take place and an outright sale takes
place, start a private equity type operation focusing on software companies like Vista
does using former Reynolds personnel

-set up an investment management firm that advises Point (and if advisable — SSHLTD)

POTENTIAL CHARITABLE DONATIONS
     -Stuart Yudofsky - $15M more

CHARITABLE DONATIONS
    -Rice University — Physics Building - $20M
    -Centre College $19.5M comm ittment
    -Lance Gould $4.5M
    -Stuart Yudofsky - $10M




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DOCUMENTS

-preparation of doomsday groups of documents for former Edge and Cabot structures
once their re-organization is done

RECORDS

-St. John's has two boxes — send me the inventory on these — so as to make a final
decision as to whether to re-locate their contents to Houston

TRIPS

-trips to Danville (Oct 19, 2012 is likely date of Residential Commons dedication),
Houston, and Rice

-trip to Alaska — Labor Day Sept 3, 2012 — arrive in Houston by Sunday Sept 2th at the
latest

-Nevis — meet Ernie Dover Q3 2012

-BVI with Don Q1 2012

-USA — quarterly

EVATT

-working on a larger family




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STRATEGIC LONG-TERM

-Bob & Dorothy redo wills for US estate setting US testamentary trust for care of
      Robert II

-Evatt sends to Bob a new version of the academic articles on the Testamentary Power
of Appointment

-in the event of premature demise of RTB, offshore world (other than AEBCT and its
affiliates) should be held for RTB II to eventually manage (Dorothy will be involved in
the AEBCT structure)

-the long term vision is as follows:

       -RTB hopefully lives a long, healthy life
       -after Reynolds RTB engages in private equity investments much like Vista
       -former Reynolds key personnel join this organization — or alternatively
               participate in a LBO/Preferred Stock bailout/MBO
       -RTBII finishes his education in a technical area and also gets an MBA
       -RTBII eventually finds the right lady and starts a family (and stays in Houston)
       -RTBII joins RTB in private equity operation — or investment advisory operation
       -the private equity operation earns fees for managing AEBCT funds at industry
               standard rates providing a living for RTB and RTBII
       -the AEBCT continues to engage in charitable giving in the areas of higher
               education and medical research
       -the corpus of AEBCT is eventually rolled over to AEBGCT or one of the PBB
               trusts

-the disaster scenario where something untoward happens to RTB is as follows:

       -a US-based trusted person holds the ownership papers of the trust protector
              Corporations
       -this US-based person (Al Deaton) endeavors to guide RTBII in the long term
              Vision laid out above

       -there is a backup person (Robert Burnett) to the US-based trusted person
              referred to above




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ENTITY STRUCTURE

Cabot Structure — Reorganization

-create a new charitable trust — purpose medical research
-Choice and Barrier divend shares in Cabot up to Inverness and Shetland Trusts
-Inverness and Shetland Trusts gift their Cabot shares up to Aberdeen Trust
-Aberdeen Trust transfers these Cabot shares to Addington Trading
-Performance dividends its cash up to Endurance Trust
-Endurance Trust gifts this cash to Aberdeen which places the cash into
Addington
-Aberdeen gifts the shares in Addington to the new charitable trust
-Addington has all the shares of Cabot, plus cash, plus share in Edge liquid and
ill-liquid
-Lineage ll Trust — holds some shares of Edge — what to do?


Edge Structure — Reorganization

-The Benevolent
            -Software Ltd pays off as much as it can on its loan to Plattoon
            -Plattoon's cash from the liquid portion of Edge goes to Regency
            -Advertising Services — as soon as one remaining account is closed

-create new charitable trust — for educational purposes

-Plattoon (Legend Trust) gifts its ill-liquid Edge to Legend (Heritage Trust)
-Cascade (Service Trust II) gifts its liquid and ill-liquid Edge to Legend (Heritage
Trust)

-reduce the number of entities - or at least focus on getting rid of inactive entities




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COMMUNICATIONS/PC ISSUES

-find a good double entry accounting system with the following requirements
       -GL detail records must contain date, name/address account number,
               memo number, document number, control number, and description
              field as well as G/L account number and transaction amount
       -traditional journals
              -cash receipts
              -cash disbursements
              -general journal
       -no money entries can be made except by journal entry
       -lots of historical data in the GL account records
       -maintains detail history forever on selected accounts
       -ability to suppress print when detail entries with the same control number
              zero balance
       -possessing standard G/L reports as well as P&L
       -ability to map all fields including historical monthly, quarterly, and yearly
              fields into Excel
       -Sage PeachTree is one to start the search with

-no usage of logic.bm no unencrypted usage of houstonfishingservice.com
except in emergency when lambdaprime.org is down

-document boot-up process for the email server

-send a copy of the boot CD to Bob

-transition all third parties to use this email address, leaving only personal email
on logic.com

-LPG generator with one-week's supply of fuel

-build a 3rd email laptop — lower in priority than other "hardening" processes

-fire extinguishers for new house

-standards for files saved as part of the document database
      -relevant emails should be saved in .msg format
      -spreadsheets should be saved in .xls format
      -quarter and year-end reports should be saved in .pdf format
      -emails and reports from accounting systems should be saved as part of the
       regular data archiving process

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STANDARD MEETING AGENDA

-review cash balances
-review investment performance
-review structure documentation
-discuss status of each structure
-review status of files — need new inventory of files now that inactive files are
      segregated
-review status of PC systems and software

PROJECTS — NEW — Aircraft Charter Company — now postponed indefinitely

-seek bids for the cash sale of the RJ to independent 3rd parties, then set the price of
the RJ a little above that to compensate for the "orderly sale" delay

-sell RJ to a new US-based C-corp — with preferably RTB owning 1% so he can fly at
cost

-the sale must be of a depreciated asset so as to achieve the EBITDA gain intended

-investigate the potential tax consequences of the sale and subsequent purchase by a
1% owner — does this impact the ability of the new entity to depreciate the aircraft?

-after this change, the RJ is chartered to Reynolds and other third parties at the going
$5500/hour rate — and to RTB at the owner's $2500 rate


ENTITIES IN WIND-DOWN MODE — BUT STILL NOT GONE

-shut down Software BV — in liquidation process — final complete in 2017




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DANGLING THREADS

-CITGO - used to be in BVI, but now Heritage documents that they have are in
Georgetown, will be retained forever - used to own CTL, Master, Kojak, Micro-
Mainframe, Peters - left there is correspondence with Don, trust deed copies, being
returned to BVI hopefully — status is that they cannot find these files

-Bank of Bermuda - there will be some left over internal memos written by bank officers
in their personal file at least and there are microfilm copies of incoming mail

-Carlos' correspondence, billing, multiple destination, and computer files (gone)

-files of Ken, Robert, Craig - Mexico

-Brook Voght=s files - whatever is left on their network server and its backups, same
for what is at his new law firm

George Hani=s files - same issue as Brook

Ben's Jiltec and SFL records - initial reply was 10 years - find out what is the situation
on Ben=s correspondence files (maybe destroyed by hurricane)

Butterfield Cayman - computerized accounting records of everything - CTL, Jiltec, SFL,
Kojak

Baring Bros. - TIL audit reports, Carlos' correspondence, trust variance documents

VP-Bank copying of structure files and who knows what else — Glen Godfrey

VP-Bank bank records

ATU — files left behind

Malta — DBA, Providian — they will not destroy the copy of anything they ever sent out to
us

Edge involvement in VEFII

Don's paper files that still may be about

Don's miscellaneous computer files

Peter Poole's office

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While I was in Houston a question came up as to the Edge connection to VEFII.

I can report that by way of Sale and Purchase agreement dated August 24, 2004,
$154,582,366 was paid by Point in consideration for Edge's interest in VEFII.

What we cannot tell is how this and Edge's other connection with VEFII was recorded
by Vista.

It might be a worthwhile project in the future to review Vista's records and request
destruction to the extent that we can.

-On May 23, 2011 Evatt(once again) sent and email through the [ HYPERLINK
"mailto:etamine@logic.bm" ]           email account. This message contained an
attachment of an Excel spreadsheet listing of all the original documents kept in
Houston. This email will be kept in perpetuity in the backup tapes of logic.bm. This is
the worst breach of security ever to happen to date.




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                  EXHIBIT

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Message
From:          Permit [permit1@lambdaprime.org]
Sent:          3/6/2011 1:39:05 PM
To:            redfish@lambdaprime.org
Subject:       RE:


Evatt,

This report format looks fine.

I would think that we would need separate reports depending upon who purchases the debt — Cabot, Edge, or Point.

Bob


From: Redfish [mailto:redfish@lambdaprime.org]
Sent: Sunday, March 06, 2011 4:44 AM
To: permit1@lambdaprime.org
Subject:

Bob,

Attached is the report on Sunquest debt and interest paid.

Please let me know whether you would like any changes to this report.

I'll send it each month and will add the debt of other companies that we buy.

We are yet to close the latest Sunquest debt purchase.

Evatt




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